     Case 5:23-cv-00380-JWH-SP Document 70 Filed 03/06/24 Page 1 of 27 Page ID #:1942




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       (continued on next page)
15
16                           UNITED STATES DISTRICT COURT

17                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

18 Martin VARGAS, as Successor in                Case No. 5:23-cv-00380-JWH-SP
   Interest of the Estate of Martin
19 Vargas Arellano,                              Honorable Sheri Pym
20                                               DISCOVERY MOTION
          Plaintiff,
21                                               PLAINTIFF’S NOTICE OF MOTION
22          v.                                   AND MOTION TO COMPEL
   UNITED STATES OF AMERICA; THE                 DEFENDANT WELLPATH’S
23                                               FURTHER RESPONSES TO
   GEO GROUP; and WELLPATH, LLC.
24                                               PLAINTIFF’S REQUSTS FOR
                       Defendants.               PRODUCTION OF DOCUMENTS AND
25
                                                 INTERROGATORIES (SET ONE) AND
26                                               RESPONSES TO PLAINTIFF’S
                                                 REQUSTS FOR PRODUCTION OF
27
                                                 DOCUMENTS AND
28
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1                                               INTERROGATORIES (SET TWO)
2
                                                DECLARATION OF STACY
3                                               TOLCHIN, AND EXHIBITS THERETO
                                                FILED CONCURRENTLY
4
5                                               Hearing Date: April 9, 2024
                                                Hearing Time: 10:00 a.m.
6                                               Location: via court’s posted Zoom webinar
7                                               Jury Pre-Trial Conference: November 22,
                                                2024
8                                               Jury Trial Date: December 9, 2024
9                                               Discovery Cut-Off: July 26, 2024
10
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1      TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
2         NOTICE IS HEREBY GIVEN that on April 9, 2024, at 10:00 a.m., or as soon thereafter
3      as counsel may be heard by the above-entitled Court, located at George E. Brown, Jr.
4      Federal Building and United States Courthouse, 3470 12th St., Riverside, CA 92501,
5      Courtroom 4, 3rd Floor, via Zoom webinar, in the courtroom of the Honorable Sheri Pym,
6      via the Court’s posted Zoom webinar, Plaintiff will and hereby does move the Court
7      pursuant to Fed. R. Civ. Proc. 37 and Local Rule 37 et seq. for an order compelling
8      Defendant Wellpath, Inc. to further respond to Plaintiff’s Request for Production of
9      Documents(“RFP”), Sets One and Two, and Plaintiff’s Interrogatories (“Rog”), Sets One
10     and Two, including by producing responses related to Mr. Vargas Arellano’s Medical and
11     Death Records (RFP Nos. 1-2 and 19 (Set One), Rog. No. 5-7 and 9 (Set One);
12     Communications Relating to Mr. Vargas Arellano (RFP Nos. 11-14 (Set One); and
13     Responses to Plaintiff’s October 30, 2023 Second Set of Interrogatories [ROG Nos. 10-
14     17] and Second Set of Request for Production of Documents [RFP Nos. 24-32]. Plaintiff
15     requests that the Court order sanctions for Defendant Wellpath’s failure to cooperate in
16     the preparation of the Joint Stipulation under Local Rule 37-2.2, and order that it pay
17     Plaintiff $11,100 for the fees associated with the filing of this motion. See Local Rule 37-
18     4; Fed. R. Civ. P. 37(a)(5)(A).
19        Plaintiff has met the pre-filing conference of counsel and his portion of the preparation
20     of joint stipulation requirements contained in Federal Rule of Civil Procedure 37 and Local
21     Rule 37 et al. See Declaration of Stacy Tolchin, (“Tolchin Decl.”) ¶¶ 9, 16, 20. Defendant
22     Wellpath has failed to timely respond within seven days after the receipt of the draft joint
23     stipulation. Tolchin Dec. ¶ 20.
24        This Motion is based on this Notice of Motion and Motion, the Tolchin Declaration
25     and attached Exhibits, and upon such other matters as may be presented to the Court at the
26     time of the hearing.
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1      March 6, 2024                   By: /s/ Stacy Tolchin
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21                     TO PLAINTIFF’S OCTOBER 30, 2023 SECOND SET OF
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22                     REQUEST FOR PRODUCTION OF DOCUMENTS [RFP NOS. 24-
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1                                           TABLE OF AUTHORITIES
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4           6193006, at *7 (C.D. Cal. July 20, 2023) .............................................................. 19

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1
2      I.      INTRODUCTION
3              Plaintiff Martin Vargas moves this Court for an order pursuant to Fed. R. Civ. Proc.
4      37 and Local Rule 37 et seq. for an order compelling Defendant Wellpath, Inc. to further
5      respond to Plaintiff’s Request for Production of Documents (“RFP”), Sets One and Two,
6      and Plaintiff’s Interrogatories (“Rog”), Sets One and Two, including by producing
7      responses related to Mr. Vargas Arellano’s Medical and Death Records (RFP Nos. 1-2, 1
8      (Set One), Rog. Nos. 5-7 and 9 (Set One); Communications Relating to Mr. Vargas
9      Arellano (RFP Nos. 11-14); and Responses to Plaintiff’s October 30, 2023 Second Set of
10     Interrogatories [ROG Nos. 10-17] and Second Set of Request for Production of
11     Documents [RFP Nos. 24-32].
12             Due to Wellpath’s failure to cooperate in the discovery process, Plaintiff also
13     requests that Wellpath be ordered to pay Plaintiff attorneys’ fees of $11,100, as reasonable
14     expenses incurred in bringing this Motion pursuant to Rule 37(a)(5)(A). See Local Rule
15     37-4.
16     II.     STATEMENT OF FACTS
17             Plaintiff Martin Vargas is the eldest son of Martin Vargas Arellano, who tragically
18     died after contracting COVID-19 in U.S. Immigration and Customs Enforcement
19     (“ICE”) custody at the Adelanto ICE Processing Center (“Adelanto”) due to repeated
20     failings by Defendant USA (“USA”) and its contractors Defendants the Geo Group, Inc.
21     (“GEO”) and Wellpath. ICE contracts with GEO to run operations at Adelanto, and also
22     provides health care for detained people at Adelanto through GEO’s sub-contract with
23     Wellpath. Dkt. 39 at ¶12. Under the operative contracts, court orders, and governing law,
24     each of the Defendants were required to abide by COVID-19 mandates designed to
25     forestall Vargas Arellano from contracting COVID-19, and his tragic and untimely
26     death, which they failed to do.
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1            A.     Vargas Arellano’s Immigration Detention in Contravention of Court
                    Orders
2
3
             Vargas Arellano came to the U.S. when he was two. Dkt. 39 at ¶60. On May 15,
4
       2013, ICE initiated removal proceedings. Id. at ¶61. He was assigned an attorney to
5
       represent him in the proceedings because he was a class member in Franco-Gonzalez v.
6
       Holder, which mandates legal representation for mentally incompetent individuals. Id.
7
       Vargas Arellano suffered from chronic health conditions including high blood pressure,
8
       diabetes, cellulitis, liver disease, and severe psychiatric illness. Dkt. At ¶67.
9
             Following the outbreak of COVID-19, ICE issued a series of mandates to manage
10
       and attempt to limit the spread of COVID-19 at immigration detention facilities. Id. at
11
       ¶¶21-22. Multiple class action lawsuits further obligated ICE to stem the spread of
12
       COVID-19 at detention facilities. Vargas was a class member in two such cases. First,
13
       Fraihat v. ICE mandated timely custody redetermination and release for class members,
14
       like Vargas Arellano, who were chronically ill and immunocompromised. Id. at ¶25.
15
       Second, Roman v. Wolf, required population reduction at Adelanto in response to the
16
       COVID-19 pandemic. Id. at ¶¶34-39. ICE delayed and then denied Vargas Arellano’s
17
       release requests based on these orders, including shortly before he contracted COVID-19
18
       and died from it on March 8, 2021. Id. at ¶71.
19
             B.     Vargas Arellano’s Illness and Death in Defendants’ Custody and Care
20
21           On December 10, 2020, Vargas Arellano tested positive for COVID-19. Dkt. 39 at
22     ¶80. In the course of the Roman litigation, Defendant USA attested that Vargas Arellano
23     contracted the disease from a Wellpath employee during a November 29, 2020
24     examination. Id. Defendant USA attested that this was his only known exposure to
25     COVID-19. Declaration of Stacy Tolchin (“Tolchin Decl.”), ¶ 22, Exhibit (“Ex.”) J.1
26
27           1
               Hereinafter, all references to Exhibits are to those attached to the concurrently
28     filed declaration of Stacy Tolchin.
                                                    2
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1             Between December 11, 2020 and February 27, 2021, Vargas Arellano endured
2      persistent COVID-19 symptoms and was repeatedly hospitalized. Id. at ¶¶83–89. On or
3      about February 19, 2021, when medical professionals determined that Vargas Arellano
4      was at risk of “‘sudden death’ due to multiple ailments … in the wake of COVID-19
5      infection,” ICE initiated plans to release him. Dkt. 39 at ¶89. However, by February 26,
6      2021, he suffered a stroke that caused brain death. Id. at ¶92. On March 5, 2021, ICE
7      “released” him purportedly on his own recognizance while in the hospital, even though
8      he was brain dead. Id. at ¶93. On March 8, 2021, he passed away due to complications
9      from COVID-19. Id.at ¶94. ICE failed to inform Plaintiff or Vargas Arellano’s attorney
10     of his “release” or death. Id.
11            Plaintiff filed this action for the loss of his father Mr. Vargas Arellano, alleging
12     claims for violations of the Federal Tort Claims Act against Defendant United States of
13     America (Negligence, Negligent Infliction of Emotional Distress, Intentional Infliction
14     of Emotional Distress, and False Arrest/Imprisonment and Wrongful Death), as well as
15     against GEO and Wellpath for Violation of Detention Standards (Cal. Gov. Code §
16     7320), Negligence, Negligent Infliction of Emotional Distress, and Wrongful Death.
17
18     III.   RELEVANT PROCEDURAL HISTORY
19            The operative complaint in this case was filed on May 23, 2023. Dkt. # 39.
20            On June 2, 2023, Plaintiff served on Wellpath his first set of Requests For
21     Production of Documents (“RFPs” Nos. 1 to 23 Tolchin Dec. ¶ 3. On June 16, 2023
22     Plaintiff served his first set of Interrogatories (“Rogs” Nos. 1 to 9). Tolchin Dec. ¶ 3.
23     Wellpath submitted a response on August 3, 2023. Tolchin Dec. ¶ 4. On October 30,
24     2023 Plaintiff served on Wellpath his second set of RFPs, Nos. 24 to 32, and Rogs, Nos.
25     10 to 17. Id. ¶ 7.
26            On November 29, 2023, Plaintiff granted Wellpath a two-week extension to serve
27     responses to Plaintiff’s Requests for Interrogatories and RFPs (Set Two). Tolchin Dec. ¶
28
                                                     3
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1    12. Plaintiff granted this extension on the condition that Wellpath fully respond to
2    Plaintiff’s discovery correspondences, including an October 25, 2023 letter, regarding
3    their deficient responses to Set One with reasonable deadlines as to when it will complete
4    its production of outstanding discovery with respect to Set One. On December 1, Wellpath
5    informed plaintiff that it would be providing “substantial responses” to that request by
6    December 15, 2023.
7          Wellpath never followed up. Wellpath also failed to provide any responses to Set
8    Two, which were due on December 18, 2023. Between October 25, 2023 and February 7,
9    2024, upon receiving Wellpath’s responses to Plaintiff’s first set of RFPs and Rogs,
10   Plaintiff engaged in lengthy efforts to meet and confer with Wellpath, detailing the
11   deficiencies with its discovery responses (and lack of responses regarding Plaintiff’s
12   second set of RFPs and Rogs) in two letters. Id. ¶ 14-15, Exhs. E-F.
13         For its part, while Wellpath claimed on February 5, 2024, December 1, and
14   November 14, 2023 that it would address the discovery deficiencies Plaintiff identified
15   related to his first set of RFPs and Rogs, and respond to Plaintiff’s second set of RFPs and
16   Rogs. Tolchin Decl. ¶ ¶ 9, 12,16. Wellpath has failed to do so. Id. ¶ 16.
17         Last, Plaintiff sought to resolve this dispute throughout the procedures set forth in
18   Local Rule 37-2.2. On January 27, 2024, Plaintiff sent Wellpath a letter requesting a Rule
19   37-1 conference and a conference was held on February 5, 2024. Tolchin Dec. ¶ 15, Exh.
20   F. On February 27, 2024, Plaintiff sent a draft stipulation pursuant to Local Rule 37-2.2,
21   requesting a response by March 5, 2024. Id. ¶ 20, Exh. J. No response was received within
22   the seven day time period. Id. ¶ 20. As such, Plaintiff moves to compel Wellpath’s
23   response to the pending discovery requests pursuant to Local Rule 37-2.4; Leprino Foods
24   Co. v. Avani Outpatient Surgical Ctr., Inc., No. 2:22-CV-07434-DSF-JC, 2024 WL
25   650434, at *4 (C.D. Cal. Jan. 4, 2024).
26   IV.   ARGUMENT
27         Through this Motion, Plaintiff seeks a Court Order requiring Defendant Wellpath
28
                                                  4
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1    to timely respond and amend its discovery responses to ensure Plaintiff receives critical
2    information central to this case to which he is entitled: relevant communications,
3    Electronically Stored Information (“ESI”), and other documents and information related
4    to how Vargas Arellano contracted COVID-19 despite the myriad of precautions
5    Defendants were required to take to forestall this result, which led to his untimely death.
6    Wellpath has never seriously denied that Plaintiff is entitled to this information, but instead
7    has delayed providing it, and has entirely failed to respond to some of Plaintiff’s discovery
8    requests.
9          Plaintiff is now in urgent need of the discovery at issue, to use at upcoming
10   depositions and to otherwise timely prosecute the case. Given Wellpath’s history of
11   evading its discovery obligations, including by failing to meet its own commitments to
12   supplement its responses and prolonging the discovery process, Plaintiff cannot further
13   wait for Wellpath to voluntarily comply with its discovery obligations. The discovery cut-
14   off in this case is set for July 26, 2024, leaving Plaintiff limited time to do so. Dkt. 63
15   (Scheduling Order). Plaintiff therefore requests that the Court issue an order requiring
16   Wellpath to produce additional documents and information, and provide written responses
17   to Plaintiff’s RFPs and Rogs, along the lines requested here, as well as order granting
18   Plaintiff reasonable expenses in the form of attorneys’ fees incurred in making this motion
19   in light of Wellpath’s failure to abide by its discovery obligations. See L.R. 37-4.
20
21         A.     The Court Should Order Wellpath to Respond to Requests Related to
                  Mr. Vargas Arellano’s Medical and Death Records: RFP Nos. 1-2, 19
22
                  (Set One), Rog. Nos. 5-7, 9 (Set One)
23
24
           Plaintiff propounded the following requests related to Mr. Vargas Arellano’s
25
     medical and death records, and Wellpath has failed to adequately respond.
26
27
           REQUEST FOR PRODUCTION NO. 1
28
                                                   5
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1        All DOCUMENTS RELATING TO any medical conditions VARGAS-
         ARELLANO suffered while in YOUR care or custody, including but not limited to
2
         COMMUNICATIONS RELATED TO YOUR knowledge of his medical
3        conditions and any treatment of those conditions by YOU, USA and/or GEO.
4
         RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
5        Please see documents produced herewith at Bates numbers WELLPATH-MVA
         000001 –WELLPATH-MVA 005897. Additional documentation may be in the
6
         possession, custody or control of other parties, including USA and GEO.
7        Responding party further responds that to the extent “communications” are
         requested, responding party respectfully requests to meet and confer regarding the
8
         scope of the request, and to the extent ESI communications are requested (i.e. email)
9        meeting and conferring is required to designate search terms, custodians and other
10       parameters.

11       REQUEST FOR PRODUCTION NO. 2:
12       All DOCUMENTS RELATING TO the death of VARGAS-ARELLANO,
         including but not limited to COMMUNICATIONS between YOU and any other
13       PERSON RELATED TO his death; any investigation into his death; any Office of
14       Professional Responsibility reports RELATED TO his death; any action items,
         corrective action plans, or policy changes resulting from or RELATED TO his
15       death; and statements from any PERSON, including but not limited to YOU, USA
16       or GEO RELATED TO his death.

17       RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
18       Objection. This request potentially seeks documents in violation of the PSQIA at
         42 U.S.C. § 299b-21, et seq. and 42 CFR 3.20, and the attorney-client privilege.
19       Further objection that the request seeks documentation in the possession, custody
20       or control of other parties, including USA and GEO. Without waiving stated
         objections and subject thereto, responding party responds as follows: Any non-
21       privileged documentation responsive to this request will be produced at a reasonable
22       time following the entry of the protective order in this case.

23       REQUEST FOR PRODUCTION NO. 19:
24       All DOCUMENTS including COMMUNICATIONS RELATING TO
         DETENTION STANDARDS, including but not limited to compliance with those
25       DETENTION STANDARDS; all complaints lodged against YOU, USA or GEO
26       for violating the DETENTION STANDARDS; any training provided to any
         PERSON, including YOU, USA and/or GEO, RELATED TO the DETENTION
27       STANDARDS; and any warnings, reprimands and disciplinary action taken against
28
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1        any PERSON related to the DETENTION STANDARDS.
2
         RESPONSE TO REQUEST FOR PRODUCTION NO. 19:
3        Objection. This request is vague and ambiguous as to the term “detention standards”
         as it is used in this context and directed to medical provider Wellpath. Further
4
         objection that the request is overly broad as to time and scope, and not proportional
5        to the needs of this case. Absent narrowing of the request, and further definition,
         responding party is unable to respond.
6
7        INTERROGATORY NO. 5:
         IDENTIFY all PERSONS with knowledge of how VARGAS ARELLANO may
8
         have contracted Covid-19 while at ADELANTO, e.g. based on access to the results
9        of any contact tracing, including their employment position(s) and a summary of
10       their knowledge of relevant facts.

11       RESPONSE TO INTERROGATORY NO. 5:
12       Responding party is presently unaware of how decedent contracted COVID-19, or
         whether it was contracted at Adelanto, by custody or medical staff or elsewhere
13       decedent had visited, such as outside appointments. Responding party is currently
14       investigating this issue and discovery has just begun. Responding party therefore
         specifically reserves the right to amend and/or supplement its’ response herein as
15       necessary.
16
         INTERROGATORY NO. 6:
17       IDENTIFY the WELLPATH employee who treated VARGAS ARELLANO on or
18       about November 29, 2020, and who is referenced in the SPECIAL MASTER
         REPORT as the individual who likely transmitted Covid-19 to VARGAS
19       ARELLANO.
20
         RESPONSE TO INTERROGATORY NO. 6:
21       On November 28, 2020 Mr. Vargas Arellano was treated by Hideyuki Sakata, M.D.
22       and Tanya Willis, N.P. On December 1, 2020 Mr. Vargas Arellano was treated by
         Ruth Escareno, R.N. Responding party is not asserting these individuals “likely
23       transmitted COVID-19 to Vargas Arellano.”
24
         INTERROGATORY NO. 7:
25       "Describe any investigation into the events and circumstances surrounding
26       VARGAS ARELLANO’S death, including the findings of any such investigation,
         any disciplinary actions resulting from any such investigation including by
27       IDENTIFYING those disciplined, and changes in YOUR policies and procedures
28
                                               7
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1          as a result of any investigation."
2
           RESPONSE TO INTERROGATORY NO. 7:
3          Responding party is presently unaware of any investigation consistent with
           interrogatory 7. Investigation and discovery are ongoing and responding party
4
           specifically reserves the right to amend and/or supplement this response as
5          necessary.
6
           INTERROGATORY NO. 9:
7          IDENTIFY each of YOUR agents (e.g. employees or contractors) who had any
           knowledge, direct or indirect, about VARGAS ARELLANO’S medical conditions
8
           from November 1, 2020 to his death on March 8, 2021, including by providing their
9          job descriptions and any certifications or licenses they held.
10
           RESPONSE TO INTERROGATORY NO. 9:
11         In accord with FRCP Rule 33(d), responding party refers propounding party to
12         Bates numbers WELLPATH-MVA 000001 – WELLPATH-MVA 005897.
           Discovery is continuing and these responses will be supplemented.
13
14         These requests seek documents and information related to how Vargas Arellano

15   contracted COVID-19 on or about December 10, 2020 and the events leading to his death

16   on March 8, 2021. Although Wellpath produced some responsive documents, a number

17   of specific sets of documents are missing. Plaintiff identified these missing documents to

18   Wellpath during the course of the parties’ meet and confer discussions, including as

19   follows:
                 1.     Mr. Vargas Arellano’s Medical Records (RFP No. 1, Rog. No. 9)
20
21          It was during a Wellpath infirmary stay from November 28, 2020 to December 1,

22   2020 that ICE represented to the Roman Special Master that Mr. Vargas Arellano

23   contracted COVID-19 from a Wellpath employee. Tolchin Dec., Exh. H. To date,

24   Wellpath has not produced all documents related to this infirmary stay, and each

25   subsequent contact Mr. Vargas Arellano had with any Wellpath employee thereafter.

26   While Defendant GEO has recently produced documents related to Mr. Vargas Arellano’s

27   November 28, 2020 to December 1, 2020 infirmary stay, Wellpath has an independent

28   obligation to produce these documents, and all other responsive documents in its
                                            8
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1    possession, custody or control. If the documents GEO produced constitute all responsive
2    records in Wellpath’s possession, custody or control, the Court should order Wellpath to
3    amend its discovery responses to so state. Further, Wellpath issued subpoenas for Mr.
4    Vargas Arellano’s medical records, but despite Plaintiff’s repeated requests, it has not
5    turned over any of the documents recovered by the subpoenas. Id., Exh. A at 5.
6
7                 2.    Identity of Wellpath Employee Who Transmitted COVID-19 to
                        Mr. Vargas Arellano (Rog No. 6)
8
9          As discussed, ICE represented to the Special Master in the Roman litigation that it
10   was a “Wellpath employee” who transmitted COVID-19 to Mr. Vargas Arellano on
11   November 29, 2020. Id., Exh. H. In Rog No. 6, Plaintiff asks Wellpath to identify this
12   Wellpath employee, but Wellpath fails to respond to this clear and direct query, despite its
13   obvious personal knowledge of the information Plaintiff seeks. Instead, Wellpath provides
14   a completely evasive response, including by identifying the Wellpath employees who
15   treated Mr. Vargas Arellano on both November 28 and December 1, 2020, but not on
16   November 29, 2020. During the parties’ meet and confer discussion on November 14,
17   2023, Wellpath agreed to amend its response to Rog No. 6, and identify the Wellpath
18   employee identified by ICE as having transmitted COVID-19 to Mr. Vargas Arellano. To
19   date, Wellpath has failed to do so.
20
21                3.    Investigations into Mr. Vargas Arellano’s Death (RFP No. 2, Rog
                        No. 7)
22
           In response to Rog. No. 7, Wellpath stated that it is “presently unaware of any
23
     investigation consistent with [any investigation into the events and circumstances
24
     surrounding VARGAS ARELLANO’S death].” In fact, the Special Master appointed in
25
     the Roman case investigated the facts and circumstances related to Vargas Arellano’s
26
     death, and required corrective action in response to its findings. Id., Exh. J. It lacks
27
     credulity that Wellpath was not aware of this investigation, let alone the “findings of any
28
                                                 9
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1    such investigation, any disciplinary actions resulting from any such investigation
2    including … and changes in [Wellpath’s] policies and procedures as a result of any
3    investigation.” See Rog. No. 7. Indeed, Wellpath contracted with GEO to provide
4    healthcare serviced to Mr. Vargas Arellano, and would have been directly involved in
5    responding to the Special Master inquiry. Wellpath is therefore obligated to search for
6    documents in its possession, custody and control related to the Roman Special Master
7    inquiry, and any other matters referenced in RFP No. 2, and amend its response to Rog.
8    No. 7.
9             During the parties’ meet and confer discussion on November 14, 2023, Wellpath
10   agreed to conduct a further investigation for this information and inform Plaintiff of its
11   findings. Id., Exh. E. To date, Wellpath has failed to follow through with its commitment,
12   let alone comply with its obligation to fully and properly respond to RFP No. 2 and Rog.
13   No. 7.
14
15                  4.    COVID-19 Testing and Contact Tracing Records: (RFP No. 19,
                          Rog. No. 5)
16
17            Despite its evasive response to RFP No. 19 and Rog. No. 5, at the parties November
18   14, 2023 conference, Wellpath agreed to produce COVID-19 testing records in its
19   possession, custody and control, including for detainees, Wellpath staff, GEO staff, and/or
20   USA staff. Exh. E. It also agreed to produce information regarding contact tracing of its
21   employees, including the Wellpath nurse Norma Penaloza, for who USA produced contact
22   tracing information that appears to identify her as the individual who transmitted COVID-
23   19 to Mr. Vargas Arellano. Tolchin Dec., Exh. A. Despite repeated requests that Wellpath
24   produce this information, and Wellpath’s own commitments to do so, Wellpath has
25   completely failed to meet its discovery obligations. Id., Exhs. A, C, D, E.
26
              At the parties November 14, 2023 Rule 37-1 conference related to Plaintiff’s first
27
     set of RFPs and Rogs, Wellpath agreed to produce all of the above-referenced
28
                                                   10
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1    documents and information, but to date has failed to comply. Id., Exh. E. At the parties’
2    second Rule 37-1 conference on February 5, 2023, Wellpath’s counsel again
3    acknowledged that it does not dispute Plaintiff’s entitlement to Plaintiff’s outstanding
4    discovery requests. Tolchin Decl. ¶ 16. Wellpath recommitted at that time to produce
5    its outstanding responses to Plaintiff. Id. However, to date, it has failed to do so.
6
7          B.     THE COURT SHOULD ORDER THAT WELLPATH PRODUCE
8                 COMMUNICATIONS RELATING TO MR. VARGAS ARELLANO
                  (RFP Nos. 11-14)
9          Plaintiff propounded the following requests related to the production of
10   communications related to Mr. Vargas Arellano, and Wellpath has failed to adequately
11   respond.
12
13         REQUEST FOR PRODUCTION NO. 11:
           All DOCUMENTS RELATING TO ANY COMMUNICATIONS between YOU
14
           and USA RELATING TO VARGAS ARELLANO’S detention conditions,
15         including but not limited to his medical conditions.
16
           RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
17         Objection. This request is vague and ambiguous as to the term “detention
           conditions.” Responding party further responds that to the extent “communications”
18
           are requested, responding party respectfully requests to meet and confer regarding
19         the scope of the request, and to the extent ESI communications are requested (i.e.
           email) meeting and conferring is required to designate search terms, custodians and
20
           other parameters. Without waiving stated objections and subject thereto, responding
21         party responds that documents responsive to this request may also be found in
           responding party’s response to Request for Production No. 1.
22
23         REQUEST FOR PRODUCTION NO. 12:
           All DOCUMENTS RELATING TO ANY COMMUNICATIONS between YOU
24
           and GEO RELATING TO VARGAS ARELLANO’S detention conditions,
25         including but not limited to his medical conditions.
26
           RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
27         Objection. This request is vague and ambiguous as to the term “detention
28         conditions.” Responding party further responds that to the extent “communications”
                                               11
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1          are requested, responding party respectfully requests to meet and confer regarding
           the scope of the request, and to the extent ESI communications are requested (i.e.
2
           email) meeting and conferring is required to designate search terms, custodians and
3          other parameters. Responsive documents may also be found in responding party’s
           response to Request for Production No. 1.
4
5          REQUEST FOR PRODUCTION NO. 13:
           All DOCUMENTS RELATING TO ANY COMMUNICATIONS between any of
6
           YOUR employees, administrators, agents, contractors, attorneys, accountants,
7          representatives, and any other person or entity acting or purporting to act on YOUR
           behalf, other than USA or GEO, RELATING TO VARGAS ARELLANO’S
8
           detention conditions, including but not limited to his medical conditions.
9
10         RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
           Please see response to Request for Production No. 1. Responding party further
11         responds that to the extent “communications” are requested, responding party
12         respectfully requests to meet and confer regarding the scope of the request, and to
           the extent ESI communications are requested (i.e. email) meeting and conferring is
13         required to designate search terms, custodians and other parameters.
14
           REQUEST FOR PRODUCTION NO. 14:
15         All DOCUMENTS RELATING TO ANY COMMUNICATIONS between YOU
16         and any third parties, including VARGAS ARELLANO’S attorneys or family
           members RELATED TO VARGAS ARELLANO’S detention conditions, including
17         but not limited to his medical conditions.
18
           RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
19         Aside from what may be contained in medical records related to decedent produced
20         herewith in response to Request for Production No. 1, responding party responds
           that to the extent additional “communications” are requested, responding party
21         respectfully requests to meet and confer regarding the scope of the request, and to
22         the extent ESI communications are requested (i.e. email) meeting and conferring is
           required to designate search terms, custodians and other parameters.
23
24         Following the parties’ November 14, 2023 Rule 37-1 conference, Wellpath agreed

25   to conduct an ESI search of its records in response to Plaintiff’s discovery requests.

26   Tolchin Dec., Exhs. C, D, E. Between November 14 and 20, 2023, Plaintiff agreed to

27   limit the ESI search terms as follows:

28
                                                12
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1        The following are the subset of terms from our initial list attached to our October
         25, 2023 letter that we request that Wellpath utilize for this initial search (with the
2
         addition of 40, below). We also provide explanations for why these terms are
3        relevant. Please use the formulations of the terms in our October 25 letter to
         capture shortened forms and other variations of the core terms.
4
5        1-2: variations of Mr. Vargas Arellano's name and his A#
         3: the Special Master in the Roman case
6
         4-5: ICE personnel Sergio Guzman and Gabriel Valdez, who documents show
7        were significantly involved in Mr. Vargas-Arellano's medical case
         16: Norma Penaloza - She is referenced on the contact tracing document attached
8
         to our October 25 letter.
9        17. Tanya Willis - She is referenced in Wellpath's Interrogatory responses as
10       someone directly involved in Mr. Vargas-Arellano's case around the time USA
         purports he contracted Covid-19.
11       18: Ruth Escanero - same as above
12       27: Dr. Hideyuki Sakata - same as above
         28: ICE Field Medical Coordinator Nicole Knight-Glass - Documents show she
13       was involved in Mr. Vargas Arellano's medical case.
14       32: contact tracing
         33: Covid w/10 of terms 1-2 and 32, above
15       40: Janeka w/10 of the terms 1-2 and 32, above - This is a new term not in our
16       October 25 letter. It is intended to capture communications involving GEO's
         Adelanto Facility Administrator related to this case.
17
18       Search locations:

19             1. Email Systems
20             2. Other electronic messaging systems
               3. ESI shared drives
21
22       Search custodians:

23             Tanya Willis
24             Sakata Hideyuki MD
               Coretta Porter
25             Ruth Escareno
26             Jonathan Garcia
               Jessica Petersen
27             Allison Gore
28
                                                13
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1                Maria Leyva
                 Kimberly Monge
2
                 Angelina Zelleck
3                Maribel Plasencio
                 Angelina Chavarria
4
                 Vincent Warrington
5                Angela Gilmer (MH)
                 Samantha Vanscoy (MH)
6
                 Christopher Deulen (MH)
7                Eu Choo (MH)
                 Yasmin Robles-Gray
8
                 Tamer Fathy
9                Norma Penaloza
10               S. Puckett (MH)
                 M. Vasquez LVN
11
12         Other physicians:

13               Alex Ramos, MD
                 Richard Medrano MD
14               Wellpath Chief Compliance Officer
15
           Search timeframe:
16              11/1/20 to the end of 2022.
17
     On January 4, 2024, Plaintiff asked Wellpath to add Kimberlee Ford and Pedro Lopez as
18
     custodians for the ESI search. Exh. E. At the parties’ subsequent February 5, 2024 Rule
19
     37-1 conference, Wellpath never declined to move forward with Plaintiff’s proposed ESI
20
     search. Tolchin Decl. ¶ 16. However, to date Wellpath has failed to carry out the search
21
     and produce responsive documents to Plaintiff. Id.
22
           As discussed, the parties have negotiated the parameters of Wellpath’s ESI search,
23
     and Wellpath committed to move forward with it. However, since their February 5,
24
     2024 conference, Wellpath has not offered any additional information regarding the
25
     results of the ESI search. Tolchin Dec. ¶ 16.
26
27
28
                                                14
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1          C.    THE COURT SHOULD ORDER THAT WELLPATH RESPOND TO
                 PLAINTIFF’S OCTOBER 30, 2023 SECOND SET OF
2                INTERROGATORIES [ROG NOS. 10-17] AND SECOND SET OF
                 REQUEST FOR PRODUCTION OF DOCUMENTS [RFP NOS. 24-
3                32]
4          Plaintiff propounded second sets of requests for production of documents and
5    interrogatories to which Wellpath never responded. These set forth:
6
           INTERROGATORY NO. 10:
7
           IDENTIFY the first and last names of all individuals at ADELANTO (including
8          both detainees, as well as GEO, WELLPATH, and USA employees/agents) who
           tested positive for Covid-19 between November 4 and December 14, 2020,
9
           including the date they tested positive, including but not limited to the individuals
10         referenced in the “APC Daily Housing and Covid-19 Status Report” submitted to
           the Court in Roman v. Wolf (See, e.g., Exhibit A (“Exh. A”), attached hereto).
11
12         INTERROGATORY NO. 11:
13         IDENTIFY in which data category, if any, VARGAS ARELLANO was counted
           in the December 14, 2020 APC Daily Housing and Covid-19 Status Report
14         submitted in Roman v. Wolf, attached hereto as Exh. A.
15
           INTERROGATORY NO. 12:
16         Describe what methods were used by any PERSON, including GEO, for Covid-19
17         contact tracing of the individuals at ADELANTO (including detainees, as well as
           GEO, WELLPATH, and USA employees/agents), who YOU knew had tested
18         positive for Covid-19 or were suspected to have Covid-19, including but not limited
19         to those who tested positive as reflected on the December 14, 2020 APC Daily
           Housing and Covid-19 Status Report submitted in Roman v. Wolf, attached hereto
20         as Exh. A.
21
           INTERROGATORY NO. 13:
22         Describe all findings from any contact tracing conducted by any PERSON to
23         determine how VARGAS ARELLANO contracted Covid-19, including but not
           limited to contact tracing of the individuals (both detainees as well as GEO, USA
24         and WELLPATH employees/agents), who tested positive for Covid-19 who are
25         referenced in the December 14, 2020 APC Daily Housing and Covid-19 Status
           Report submitted in Roman v. Wolf, attached as Exh. A.
26
27         INTERROGATORY NO. 14:
           IDENTIFY all individuals who may have had contact with VARGAS
28
                                                 15
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1        ARELLANO from November 4, 2020 to December 10, 2020, who also tested
         positive for Covid-19 in November or December 2020, including but not limited to
2
         any WELLPATH employees/agents involved in overseeing VARGAS
3        ARELLANO’s healthcare.
4
         INTERROGATORY NO. 15:
5        Describe what procedures and practices YOU had in place to ensure GEO, USA
         and/or WELLPATH staff who tested positive for Covid-19 did not transmit it to
6
         other individuals, including those who tested positive for Covid-19 as reflected on
7        December 14, 2020 APC Daily Housing and Covid-19 Status Report submitted in
         Roman v. Wolf, attached hereto as Exh. A, including but not limited to whether they
8
         were required to stop reporting to work at ADELANTO; whether they were subject
9        to contact tracing to determine how they contracted Covid-19; and what measures
10       YOU took to ensure individuals they came into contact with at ADELANTO were
         tested, quarantined, and/or isolated for a period of time to limit further Covid-19
11       exposure to individuals at ADELANTO.
12
         INTERROGATORY NO. 16:
13       IDENTIFY what Personal Protective Equipment (“PPE”) anyone physically
14       present at ADELANTO was required to wear, by YOU or any other PERSON
         including GEO and USA, to prevent the spread of Covid-19 from November 4,
15       2020 to December 10, 2020.
16
         INTERROGATORY NO. 17:
17       IDENTIFY what Personal Protective Equipment (“PPE”) was worn by any
18       WELLPATH employee/agent when they came into contact with VARGAS
         ARELLANO from November 4, 2020 to December 10, 2020, including the name
19       of the employee/agent, dates and times they came into contact with VARGAS
20       ARELLANO and the specific PPE they were wearing at those dates and times (e.g.
         face mask and type, i.e. N-95, KN-95, etc.), face shield, goggles, gloves, gown, etc.)
21
22       REQUEST FOR PRODUCTION NO. 24:
         All DOCUMENTS that IDENTIFY anyone who was physically present at
23       ADELANTO, including GEO staff, WELLPATH staff, USA staff, and detainees,
24       between November 4, 2020 and December 10, 2020 and who tested positive for
         Covid-19 on or within one week of this timeframe.
25
26       REQUEST FOR PRODUCTION NO. 25:
         All DOCUMENTS RELATING TO any contact tracing YOU or any other
27       PERSON, including USA and GEO, conducted to assess how any individual
28
                                               16
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1        physically present at ADELANTO could have contracted Covid-19, including but
         not limited to any policies, practices, protocols, guidelines, rules, training materials,
2
         instructional materials, syllabi, curricula, reporting, and other DOCUMENTS
3        including but not limited to COMMUNICATIONS RELATING TO contact
         tracing.
4
5        REQUEST FOR PRODUCTION NO. 26:
         All DOCUMENTS, including COMMUNICATIONS, RELATING TO any
6
         contact tracing conducted by any PERSON, including YOU, GEO and USA, to
7        assess how VARGAS ARELLANO contracted Covid-19 on or about December
         10, 2020.
8
9        REQUEST FOR PRODUCTION NO. 27:
10       All DOCUMENTS, including COMMUNICATIONS, RELATING TO any
         contact tracing of the individuals, both staff and detainees, who tested positive for
11       Covid-19 who are referenced in the December 14, 2020 APC Daily Housing and
12       Covid-19 Status Report submitted in Roman v. Wolf, attached as Exhibit A.
         REQUEST FOR PRODUCTION NO. 28:
13       All DOCUMENTS that IDENTIFY all individuals, including but not limited to
14       YOU, GEO, USA and other detainees, who YOU have reason to believe came into
         physical contact with VARGAS ARELLANO between November 4, 2020 and
15       December 10, 2020 and who tested positive for Covid-19 in November or
16       December 2020.

17       REQUEST FOR PRODUCTION NO. 29:
18       All DOCUMENTS that IDENTIFY what Personal Protective Equipment (“PPE”)
         YOU or any other PERSON, including GEO or USA, required anyone physically
19       present at ADELANTO to wear, including USA staff, GEO staff, WELLPATH
20       staff, and detainees, to prevent the spread of Covid-19 from November 4, 2020 to
         December 10, 2020.
21
22       REQUEST FOR PRODUCTION NO. 30:
         All DOCUMENTS that IDENTIFY what Personal Protective Equipment (“PPE”)
23       was actually used by anyone physically present at ADELANTO, including GEO
24       staff, WELLPATH staff, USA staff and detainees, prior to their coming into
         contact with VARGAS ARELLANO from November 4, 2020 to December 10,
25       2020.
26
         REQUEST FOR PRODUCTION NO. 31:
27       All DOCUMENTS, including COMMUNICATIONS YOU have had with any
28
                                                17
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1          PERSON, including GEO and USA, RELATED TO any claim for
           indemnification or other compensation RELATED TO this case.
2
3          REQUEST FOR PRODUCTION NO. 32:
           All DOCUMENTS YOU referenced or relied on in responding to Plaintiff’s
4
           Interrogatories to Defendant Wellpath LLC (Set Two).
5
           These Rogs and RFPs seek documents related to how Vargas Arellano contracted
6
     COVID-19, including Defendants’ compliance with policies and protocols to stop the
7
     spread of COVID-19 i.e. through use of screening for COVID-19 symptoms, use of
8
     appropriate Personal Protective Equipment (“PPE”), as well as testing and contact tracing.
9
     Despite repeated requests that Wellpath produce information about screening, PPE, testing
10
     and contact tracing, Wellpath has completely failed to respond to RFP. Nos. 24-32 and
11
     Rog Nos. 10-17. The Court should order that Wellpath respond to these discovery requests
12
     within one week of its Order on Plaintiff’s motion, and also order that Wellpath has waived
13
     any objections to these requests. See Richmark Corp. v. Timber Falling Consultants, 959
14
     F.2d 1468, 1473 (9th Cir. 1992) (“It is well established that a failure to object to discovery
15
     requests within the time required constitutes a waiver of any objection”).
16
           Plaintiff provided Wellpath a two-week extension to respond to October 30, 2023
17
     Plaintiffs ROGs and RFPs (Set Two), but no responses were submitted. Tolchin Dec.,
18
     Exh. E. At the Parties Rule 37-1 conference of counsel on February 5, 2024, Wellpath
19
     agreed to respond to the Second set of ROGS and RFPs, but to date, nothing has been
20
     produced. Exh. E; Tolchin Decl. ¶¶ 9, 16.
21
22
                  D.   THE COURT SHOULD ORDER WELLPSATH TO PAY
23                PLAINTIFF’s REASONABLE EXPENSES IN THE FORM OF
                  ATTORNEY’S FEES DUE TO WELLPATH’S FAILURE TO ABIDE
24                BY ITS DISCOVERY OBLIGATIONS
25         Wellpath’s failure to cooperate in the preparation of the Joint Stipulation under
26   Local Rule 37-2.2 requires an order that it pay Plaintiff’s reasonable expenses in the
27   form of attorneys’ fees. See Local Rule 37-4. See Leprino Foods Co. v. Avani Outpatient
28
                                                  18
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1    Surgical Ctr., Inc., No. 2:22-CV-07434-DSF-JC, 2024 WL 650434, at *5 (C.D. Cal. Jan.
2    4, 2024); Herbalife Int'l of Am., Inc. v. Kamel, No. CV216982MWFPVCX, 2023 WL
3    6193006, at *7 (C.D. Cal. July 20, 2023); Perez v. City of Fontana, No.
4    EDCV191623DMGKKX, 2023 WL 4768732, at *3 (C.D. Cal. Feb. 8, 2023). The Court
5    should order that Wellpath be sanctioned and pay Plaintiff $11,100 for the reasonable
6    attorneys’ fees he incurred in bringing this Motion, as set forth in the Tolchin Dec., ¶ 21.
7    The requested rate of $925 an hour is reasonable based on counsel’s 2001 graduation
8    law school graduation date and decisions of this Court granting awards for similar rates.
9    Tolchin Dec. ¶ 21; Exh. K.
10
11   V.     CONCLUSION
12    For the above reasons, the Court should grant Plaintiff’s motion and should order that
13    Wellpath pay sanctions to Plaintiff in the amount of $11,100.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  19
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1    Dated: March 6, 2024                Respectfully submitted,
2
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25
26
27
28
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1
2
3
                               CERTIFICATE OF COMPLIANCE
4
5          The undersigned, counsel of record for Plaintiff Martin Vargas, certifies that this

6    brief contains 6240 words, which complies with the word limit of L.R. 11-6.1.

7
8    Dated: March 6, 2024                         By: /s/ Stacy Tolchin
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